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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                        Southem Division
JOHN      STEWART,                           *

                           Plaintiff,               *

vs.                                                 *       Civil Action No.: PWG-17-2683

LENDMARK FINANCIAL                                  *
SERVICES,LLC,
                                                    *
                           Defendant.
*     *    *   *   *   *   {<   *   *   *   *       *   *   r<    *    {<   *   *   {<   *   *   *   *

                       MOTION TO DISMISS COMPLAINT. AS AMENDED

          Defendant Lendmark Financial Services, LLC ("Lendmark"), by and through its undersigned

attomeys, hereby moves pursuant to Rule 12(bX6) of the Federal Rules of Civil Procedure to dismiss the

Complaint, as amended, filed by Plaintiff John Stewart for failure to state a claim upon which relief can

be granted. The grounds for this Motion are more fully set forth in the accompanying memorandum          of

law, which is incorporated by reference.

          WHEREFORE, Defendant Lendmark Financial Services, LLC respectfully requests that the

Complaint, as amended, be dismissed with prejudice. A proposed Order is attached for the Court's

consideration.

                                                Respectfully submitted,
                                                                 lsl
                                                Brian L. Moffet (Fed. Bar No. 13821)
                                                Zachary S. Schultz (Fed. Bar No. 03927)
                                                Miles & Stockbridge P.C.
                                                100 Light Street
                                                Baltimore, MD 21202
                                                Tel: (410) 38s-3656
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                                                          zschultz@.mil esstockbridee. com
                                                Att o r ney s fo r D efend ant
                                                Lendmark Financial Services, LLC
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 25th day of October,   2017 , copies   of the foregoing Motion to

Dismiss, accompanying memorandum of law, and proposed Order, were mailed via first-class mail,

postage prepaid, to:

                                     John K. Stewart
                                     9554 Randall Drive
                                     White Plains, Maryland 20695
                                     Plaintiff



                                                  Brian L. Moffet




4852-5950-8818,   v   I




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